         Case 2:16-cv-00249-RDP Document 1 Filed 02/11/16 Page 1 of 5                             FILED
                                                                                         2016 Feb-12 AM 11:02
                   IN THE UNITED STATES BANKRUPTCY COURT                                 U.S. DISTRICT COURT
                                                                                             N.D. OF ALABAMA
                   FOR THE NORTHERN DISTRICT OF ALABAMA
                              SOUTHERN DIVISION


In re:                                        §
Walter Energy, Inc., et al.,                  §
Jointly Administered                          §   Case No. 15-02741-TOM-11
                     Debtor                   §

United Mine Workers of America            §
Combined Benefit Fund and the United      §
Mine Workers of America 1992 Benefit Plan §
                                          §
                     Appellant            §
vs.                                       §
                                          §
Walter Energy, Inc., et al.,              §
Jointly Administered                      §
                     Appellees            §


                                    SUBMISSION SHEET
                                      Notice of Appeal


TO:    Sharon Harris, Clerk of Court
       United States District Court


SUBMITTED ON:        1863 - Order (I) Approving the Sale of Certain Non-Core Assets Free and
                     Clear of Claims, Liens, Interests and Encumbrances; (II) Approving the
                     Assumption and Assignment of Certain Executory Contracts and
                     Unexpired Leases; and (III) Granting Related Relief



CONTENTS OF RECORD (Partial Record):

              a.     Order from which appeal is being taken;
              b.     Notice of Appeal;
              c.     Docket Sheet;
              d.     Submission Sheet

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PREVIOUS APPEAL:               U.S. District Court Case Number 2:15-cv-01531-RDP
                               U.S. District Court Case Number 2:15-cv-01773-LSC
                               U.S. District Court Case Number 2:15-cv-15-01819-LSC
                               U.S. District Court Case Number 2:16-cv-00056-LSC
         Case 2:16-cv-00249-RDP Document 1 Filed 02/11/16 Page 2 of 5

                           U.S. District Court Case Number 2:16-cv-00057-LSC
                           U.S. District Court Case Number 2:16-cv-00058-LSC



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Dated: February 11, 2016
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                                               By: /s/ Leigh Tumlin
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